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 1                                     UNITED STATES DISTRICT COURT
 2                                            DISTRICT OF NEVADA
 3

 4   UNITED STATES OF AMERICA,                            )   Case No.: 2:15-cr-00075-RFB
                                                          )
 5                  Plaintiff,                            )   ORDER FOR PRE-PLEA PRESENTENCE
                                                          )   REPORT FOR       DETERMINATION OF
 6          vs.                                           )   CRIMINAL HISTORY
                                                          )
 7   GREGORY PIKE,                                        )
                                                          )
 8                  Defendant.                            )
                                                          )
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10          Before this Court, Defendant GREGORY PIKE’s [58] Motion for Order for Pre-Plea Presentence
11
     Report for Determination of Criminal History.
12
            Pursuant to 18 U.S.C. § 3552 and Rule 32(c)(1) of the Federal Rules of Criminal Procedure and
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     good cause appearing, IT IS ORDERED that the United States Probation Department shall conduct a pre-
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     plea presentence investigation for the sole purpose of determining Defendant’s criminal history, and to
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     provide that information to both the defense and the prosecution in this case.
16
            DATED: November 9, 2015.
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                                                          RICHARD F. BOULWARE, II
19                                                        United States District Judge

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                                                       -1-         LAW OFFICES OF MICHAEL I. GOWDEY
                                                                          NEVADA BAR NO. 6994
                                                                      815 S. CASINO CENTER BLVD.
                                                                          LAS VEGAS, NV 89101
